Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 1 of 24 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 SCHENKER, INC.                                   Civ. No.

                 Plaintiff,                       NOTICE OF REMOVAL

         vs.

 AMERICAN BLAST SYSTEMS, INC.,

                 Defendant.



TO THE CLERK OF THE ABOVE-ENTITLED COURT:

        PLEASE TAKE NOTICE that defendant, American Blast Systems, Inc. (“ABS”), by and

through its undersigned attorneys, hereby removes this action from the Supreme Court of the

State of New York, County of Nassau, to this Court pursuant to 28 U.S.C. §§ 1441, 1446 and

1332(a), on the following grounds:


                                     THE COMPLAINT
        1.     On October 9, 2020, plaintiff commenced an action in the Supreme Court of the

State of New York, Nassau County, captioned Schenker, Inc. v. American Blast Systems, Inc.,

Index No. 611040/2020 (“the state court action”). Pursuant to 28 U.S.C. § 1446(a), a copy of the

Summons and (the "Complaint") in that action is attached hereto as Exhibit A.

        2.     The Summons and Complaint assert claims again ABS for alleged breach of

contract; allege quantum meruit; and alleged attorney’s fees pursuant to contract. Exhibit A, ¶¶

18-3.

        3.     On October 25, 2020, ABS was purportedly served with a copy of the Summons

and Complaint.
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 2 of 24 PageID #: 2




       4.      ABS has not made any filings in the state court action.

                               THE PARTIES AND DIVERSITY

       5.      Defendant ABS is a corporation organized and existing under the laws of the

State of California with its principal place of business located at 3101 Villa Way Newport Beach,

California, 92663.

       6.      The Complaint alleges that plaintiff was and is a domestic business corporation

organized and existing under the laws of the State of New York, with an address and place of

business at 41 Pinelawn Rd., Melville, New York 11747 in the County of Nassau. Exhibit A ¶4.

       7.      As a result, the parties are completely diverse pursuant to 28 U.S.C § 1332(a).

                                AMOUNT IN CONTROVERSY

       8.      Diversity jurisdiction under 28 U.S.C. § 1332 also requires that the amount in

controversy, exclusive of interest and costs, be in excess of $75,000.

        9.     Here the Complaint demands “no less than $50,189.06 plus attorney’s fees” in

damages as to the first cause of action; “no less than $50,189.06 plus attorney’s fees” in damages

as to the second cause of action; and unspecified damages as to the third cause of action. Exhibit

A ¶¶ 22, 28, 31, and prayer for relief.

       10.     The first and second causes of action are not pled in the alternative and as such,

on its face, the Complaint demands at least $100,378.12 in damages in addition to attorney’s fees

on the first and second causes of action as well as the unspecified damages demanded under the

third cause of action.

       11.     Additionally, even if the first cause of action (breach of contract) and the second

cause of action (quantum meruit) of the Complaint are read in the alternative, the Complaint may




                                                 2
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 3 of 24 PageID #: 3




still be read as presenting an amount in controversy in excess of $75,000 when considering the

third cause of action (attorney’s fees pursuant to contract).

                                            REMOVAL

       12.     This is a civil action that may be removed to this Court pursuant to the provisions

of 28 U.S.C. § 1441 et seq., because there exists diversity of citizenship between plaintiff and

defendant, on the face of the Complaint the amount in controversy appears to exceed the sum of

$75,000.00, exclusive of interest and costs, and, thus, there is currently original jurisdiction in

the District Courts of the United States, as provided in 28 U.S.C. § 1332.

       13.     ABS is the only defendant in the action and, therefore, no other entity must join in

this Notice of Removal.

       14.     In accordance with the requirements of 28 U.S.C. § 1446, this petition for

removal is filed within 30 days after service of the summons and complaint on defendant.

       15.     Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon defendant (consisting of the Summons and Complaint) are annexed hereto as

Exhibit A.

       16.     Pursuant to 28 U.S.C. § 1446(d), ABS will promptly serve written notice of the

removal of this action upon plaintiff, the only adverse party, and will file such notice with the

Clerk of the Supreme Court of the State of New York, County of New York.

       17.     This Notice of Removal is being filed in the United States District Court for the

Eastern District of New York, the district and division in which the case is pending.




                                                  3
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 4 of 24 PageID #: 4




       WHEREFORE, ABS requests that this action be removed from the Supreme Court of the

State of New York, Nassau County, to the United States District Court for the Eastern District of

New York.

Dated: New York, New York
       November 24, 2020

                                                     Respectfully Submitted,
                                                     BARCLAY DAMON LLP

                                           By:       /s/ Robert K. Gross
                                                         Robert K, Gross
                                                     1270 Avenue of the Americas, Suite 501
                                                     New York, New York
                                                     (212) 784-5800 (phone)
                                                     (212) 784-5774 (fax)
                                                     Email: rgross@barclaydamon.com
                                                     Attorneys for American Blast Systems, Inc.




                                                 4
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 5 of 24 PageID #: 5




                                     5
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 6 of 24 PageID #: 6
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 7 of 24 PageID #: 7
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 8 of 24 PageID #: 8
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 9 of 24 PageID #: 9
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 10 of 24 PageID #: 10
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 11 of 24 PageID #: 11
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 12 of 24 PageID #: 12
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 13 of 24 PageID #: 13
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 14 of 24 PageID #: 14
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 15 of 24 PageID #: 15
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 16 of 24 PageID #: 16
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 17 of 24 PageID #: 17
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 18 of 24 PageID #: 18
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 19 of 24 PageID #: 19
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 20 of 24 PageID #: 20
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 21 of 24 PageID #: 21
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 22 of 24 PageID #: 22
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 23 of 24 PageID #: 23
Case 2:20-cv-05731-JS-JMW Document 1 Filed 11/24/20 Page 24 of 24 PageID #: 24
